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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                          REPLY IN SUPPORT OF MOTION
                   Plaintiff,                  FOR SUMMARY JUDGMENT ON
   15                                          COPYRIGHT INVALIDITY
            v.
   16
      INTERFOCUS, INC. d.b.a.                  Hearing Date: December 5, 2022
   17 www.patpat.com, a Delaware               Time:         10:00 am
      Corporation; CAN WANG, and               Courtroom:    8D
   18 individual, and DOES 1-10, inclusive.,
                                               The Hon. Christina A. Snyder
   19              Defendants.
   20
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28

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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.      INTRODUCTION
    3         Undisputed evidence demonstrates that Plaintiff Neman Brothers, Inc.
    4 (“Neman Brothers”) was willfully blind to legal requirements in the three copyright
    5 applications at issue under legal standards the Ninth Circuit just established but
    6 Neman Brothers does not discuss. Its opposition instead 1) pretends evidence of
    7 willful blindness is not present to argue there is none, 2) submits other “evidence”
    8 that is irrelevant and insufficient to dispute willful blindness as a matter of law, and
    9 3) overstates “willful blindness” requirements contrary to Supreme Court and Ninth
   10 Circuit guidance. Summary judgment of copyright invalidity should be entered in
   11 Defendant InterFocus, Inc.’s (“InterFocus’”) favor for the reasons described below.
   12 II.     NEMAN BROTHERS’ COPYRIGHT REGISTRATIONS SHOULD BE
              INVALIDATED UNDER THE NINTH CIRCUIT’S RECENT
   13         UNICOLORS DECISION
   14         A.    The Ninth Circuit Has Just Advised How the Supreme Court’s
                    Unicolors Decision Should Be interpreted.
   15
   16         In Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 52F.4th 1054, 2022 WL
                   th
   17 16845116 (9 Cir. Nov. 10, 2022), the Ninth Circuit advised how courts in this
   18 circuit should apply the Supreme Court’s Unicolors decision when evaluating the
                                           1
   19 validity of a copyright registration. It held:
   20        “[A] party seeking to invalidate a copyright registration under §
   21         411(b) must demonstrate that (1) the registrant submitted a
   22         registration application containing inaccuracies, (2) the registrant
   23         knew that the application failed to comply with the requisite legal
   24         requirements, and (3) the inaccuracies in question were material to the
   25
   26   1
        InterFocus could not cite that decision in its earlier supplemental brief because the
   27 decision did not issue until after that brief was submitted. (Dkt. No. 96 at 6.) Neman
      Brothers’ opposition cites the decision, Dkt. No. 97 at 17, but does not discuss how
   28 it applies here.
                                          1
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    1         registration decision by the Register of Copyrights.” 2022 WL
    2         16845116 at *8.
    3         The Ninth Circuit further noted that “willful blindness” supports the above
    4 “knowledge” requirement under its standards, 2022 WL 16845116 at *9, and it
    5 explained that willful blindness is present “where [the copyright registrant]
    6 Unicolors has taken a legal position that egregiously misapplies a clear statute.”
    7 2022 WL 16845116 at *9.2
    8         B.     Neman Brothers’ Registrations Should Be Invalidated Under the
                     Ninth Circuit’s Unicolor Standards.
    9
   10         Neman Brothers’ three registrations should be invalidated under the Ninth
   11 Circuit’s new Unicolors standards for the following reasons.
   12       First, this Court already determined that “the registrant submitted a
   13 registration application containing inaccuracies[,]” Unicolors, 2022 WL 16845116
   14 at *8, supporting summary judgment. See Dkt. No. 82 at 26-27 (“the applications
   15 materials provided by Neman Brothers…confirm that inaccurate information was
   16 included on the application for copyright registration.”) The first requirement
   17 therefore is satisfied as a matter of law.
   18       Second, “the inaccuracies in question were material to the registration
   19 decision by the Register of Copyrights[,]” Unicolors, 2022 WL 16845116 at *8,
   20 further supporting summary judgment. The Register of Copyrights has already ruled
   21 that Neman Brothers’ inaccurate information was so material “that the [Copyright]
   22
        2
          The Ninth Circuit concluded that there was no willful blindness in that case
   23
        because there was no clear authority interpreting the complex “single unit of
   24   publication” regulation at issue there when that registrant filed its copyright
        application, which meant it “could not have knowingly violated our interpretation of
   25
        the relevant regulation before we announced it.” Id. Those facts are not present here,
   26   because the “authorship” and “derivative work” requirements Neman Brothers
        violated are simple, clear, and existed long before Neman Brothers egregiously
   27
        misapplied them as shown below.
   28
                                          2
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    1 Office would have refused registration for the subject applications if it had been
    2 aware of the errors in Neman Brothers’ copyright applications.” Dkt. No. 85 at 18.
    3 The third requirement therefore also is satisfied as a matter of law.
    4         Third, undisputed facts establish that Neman Brothers was “willfully blind” to
    5 and therefore “knew that the application failed to comply with the requisite legal
    6 requirements” as a matter of law. Unicolors, 2022 WL 16845116 at *8. How?
    7 Neman Brothers “egregiously misapplied’ a clear instruction that limited authors to
    8 those who “actually create” works by naming itself the “Author” of third party
    9 works even though it knew it did not “actually create” them.3 Unicolors, 2022 WL
   10 16845116 at *9. The final requirement therefore also is established as a matter of
   11 law, and summary judgment should be entered in InterFocus’ favor.
   12         Neman Brothers’ authorship inaccuracies could not have been innocent
   13 mistakes, because Neman Brothers claimed authorship while or within seconds of
   14 seeing text which explained that it could not be the author because it was neither the
   15 “person who actually created” nor the “employer” of the third parties who it knew
   16 actually created those works. Neman Brothers’ Rule 30(b)(6) Deposition (“30(b)(6)
   17 Depo.”) 45:10-23, 46:1-12, Declaration of Mark S. Lee [“Lee Decl.”] ¶¶ 8, 17, Exs.
   18 9 and 11, Dkt. Nos. 96-1 at ¶¶ 8, 17 and Dkt. Nos. 96-10 and -12; see also, Dkt. No.
   19 96 at 6. Just as one cannot “innocently” claim that black is white or day is night,
   20 because the falsity of the claim is self-apparent and making it contradicts logic and
   21 the meaning of words in the English language, here Neman Brothers could not
   22 “innocently” claim something that the online application page made clear could not
   23 be true: that it “authored” works it did not actually “author.” Neman Brothers
   24 therefore egregiously misapplied the legal requirements for “authorship” status to
   25 itself, either because it willfully refused to understand clear instructions directly in
   26
        3
   27   It also demonstrated willful blindness by failing to disclose that many of the works
      it identified were based on preexisting works and were therefore derivative in
   28 nature. Unicolors, 2022 WL 16845116 at *8, *9; Dkt. No. 85 at 6-9.
                                          3
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    1 front of it, or because it actually knew its authorship claims were legally inaccurate
    2 but made them anyway, to save itself time and money. Such conduct is the epitome
    3 of “willful blindness,”, as “[t]here are none so blind as those who will not see.”
    4 John Heywood, 1546,
    5 http://www.actualfreedom.com.au/richard/abditorium/nonesoblind.htm. See also,
    6 Jeremiah 5:21(JPS) (“Hear now this, O foolish people…which have eyes, and see
    7 not…”).
    8        Neman Brothers’ willful blindness to this inescapable legal requirement is
    9 underscored by other undisputed facts which demonstrate that its false authorship
   10 claims and derivative work concealments were not isolated mistakes, but part of a
   11 decades-long course of conduct pursued in hundreds of copyright applications for its
   12 financial benefit. Neman Brothers’ opposition does not dispute or deny the language
   13 or location of the Copyright Office’s “author” and “derivative work” instructions
   14 that were attached to the front of the hard copy applications, and were included in
   15 the “author” webpage of the online applications. Dkt. No. 96 at 10; Lee Decl. ¶¶ 5-
   16 6, 8; Exs. 1-7, 11, Dkt. Nos. 96-1 at ¶¶ 5-6, 8 and 96-2 to -8 and 96-12. Neman
   17 Brothers’ opposition does not dispute or deny that it had to use one of the above
   18 methods to apply for its copyright registrations, and thus saw either the paper or
   19 online “author,” and “derivative work” requirements every time it completed and
   20 filed its applications. Lee Decl. ¶¶ 7-8 and Ex. 11, Dkt. Nos. 96-1 at ¶¶ 7-8 and Dkt.
   21 No. 96-12. Although its opposition brief now tries to dispute it, Neman Brothers
   22 admitted their clarity in deposition and therefore cannot dispute or deny that those
   23 instructions were clear. 30(b)(6) Depo. 25:17-26:1; Lee Decl. ¶ 17 and Exs. 8 and 9,
   24 Dkt. Nos. 96-1 at ¶17 and Dkt. Nos 97-9 and -10.
   25        Neman Brothers’ opposition does not dispute or deny it was an experienced
   26 copyright registrant with a 30+ year history of filing over 350 group copyright
   27 registration applications. Lee Decl. ¶ 17; Ex. 8 and Ex. A thereto, Ex. 9, Dkt. Nos.
   28 96-1 at ¶ 17 and 96-9 and -10. It does not dispute or deny that it made the same
                                         4
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    1 inaccurate authorship claims in those hundreds of other applications to obtain
    2 registrations covering thousands of third-party works. Id. It does not dispute or deny
    3 that it never revealed to the Copyright Office that it did not create the third-party
    4 works included in the applications at issue in which it claimed authorship. Id. It does
    5 not dispute or deny that for more than 20 years it had easy access to information on
    6 the Copyright Office’s website, to the Copyright Office’s “Compendium of Offices
    7 Practices,” or to Copyright Office Registration Specialists, but never consulted them
    8 to see if it qualified as an “author” of the third party works it did not actual create.
    9 Lee Decl. ¶ 9-10, Dkt. No. 96-1 at ¶ 9-10. It does not dispute or deny that it relied
   10 on those registrations to support 60 copyright infringement actions, or that it had
   11 easy access to copyright counsel for years as a result of those litigations, with whom
   12 it either did not consult or whose advice it ignored to falsely claim to be the author
   13 of works it did not actually create. Lee Decl. ¶ 11, Ex. 15; Dkt. No. 96-1 at ¶ 11 and
   14 Dkt. No. 96-16. It does not factually dispute or deny that it saved itself thousands of
   15 hours of employee time and hundreds of thousands of dollars in filing fees by using
   16 inaccurate group registrations for the thousands of third party works it otherwise
   17 would have had to register individually to comply with the Copyright Office’s clear
   18 instructions.4 Lee Decl. ¶¶ 14-16, Dkt. No. 96-1 at ¶¶ 14-16.
   19         These additional undisputed facts even more clearly establish that Neman
   20 Brothers was as least willfully blind to the Copyright Office’s online “authorship”
   21 instructions for its own benefit, and committed what the Ninth Circuit characterizes
   22 as fraud on the Copyright Office to avoid them. 2022 WL 16845116 at *8
   23 (explaining that when a copyright applicant files an inaccurate copyright application
   24 pursuant to the standards the Ninth Circuit established to invalidate a copyright
   25 registration as described above, it commits fraud on the Copyright Office.) They
   26
   27
        4
        It does nonsensically claim these facts “don’t make sense” as discussed in Section
   28 II D, infra.
                                          5
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     1 even more clearly require invalidation of the three registrations at issue.5
     2        C.     Neman Brothers’ Factual and Legal Arguments on Willful
                     Blindness Cannot Defeat Summary Judgment.
     3
     4        Unable to factually dispute the above evidence, Neman Brothers’ opposition
     5 pretends it isn’t there to argue that because InterFocus has “completely failed to
     6 present evidence” of willful blindness (Dkt. No. 97 at 4), and because Neman
     7 Brothers claims it lacked “subjective knowledge” of legal inaccuracies and took no
     8 “deliberate action” to create them, it was not “willfully blind” to applicable legal
    9 requirements. Dkt. No. 97 at 3-8. That argument lacks merit for several reasons.
   10       First, under the Supreme Court’s and Ninth Circuit’s standards, this Court
   11 should infer from the undisputed circumstantial evidence cited at length above that
   12 Neman Brothers knew its authorship claims were probably false, but that it
   13 deliberately claimed authorship anyway. Statements Neman Brothers had to make in
   14 the copyright applications at issue that it was the “author” of third party works it did
   15 not “actually create,” while or just after reading or avoiding text on that very page
   16 that an “author” is the “person who actually created” the works, “egregiously
   17 misapplied” the clearest of inescapable “author” instructions in a way that
   18 demonstrates “willful blindness,” if not deliberate falsity. Unicolors, 142 S. Ct. at
   19 948; 2022 WL 16845116 at *9.
   20       Second, Neman Brothers does not factually deny wrongdoing, but instead
   21 denies recalling whether it engaged in it, a “denial” that does not create a material
   22 factual dispute. For example, Neman Brothers’ former employee Adelso Henriquez
   23 does not dispute or deny that when he completed the copyright applications at issue,
   24 he saw and understood but ignored the plain text on the Copyright Office’s online
   25 application page that defines an “author” as “a person who actually created the
   26
         5
   27  Neman Brothers’ failure to dispute the above facts showing it lacked good faith
      make irrelevant its legal arguments that assume its good faith. See Dkt. No. 97 at 16-
   28 19)
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     1 contribution, unless the contribution was “Made for hire” in which case the
     2 employer is the author” when he completed the “Author” page of the online
     3 copyright applications. Lee Decl. Ex. 11, Dkt. No. 96-12; see also Dkt. No. 96 at 6;
     4 emphasis and coloring in original. To the contrary, he testified only that “I do not
     5 remember specifically about those registrations but…I think I filled out the relevant
     6 application forms…” Dkt. No. 97-1 at ¶11.
     7        Neman Brothers cannot factually deny anything if it only knows what its
     8 former employee has forgotten. Mr. Henriquez’ failure to recall facts surrounding
     9 the applications means he cannot deny that he read the above quoted text on the
   10 online application page when he completed them, because he does not remember
   11 whether he did so. And the undisputed fact is, he had to read that page to add, in the
   12 appropriate boxes, the “Author” information the applications required to be
   13 completed and submitted.
   14         Third, Neman Brothers’ attempts to minimize the admissions of its Rule
   15 30(b)(6) witness by pointing out she testified she lacked “personal knowledge” to
   16 certain issues (Dkt. No. 97 at 22-23) also does not create a factual dispute to defeat
   17 summary judgment. Neman Brothers had a duty to prepare the witness so that she
   18 could testify to the matters specified in the notice, and it is bound by her testimony
   19 regardless of her personal knowledge or lack thereof. Board of Trustees of Leland
   20 Stanford Junior University v. Tyco Intern., Ltd., 253 F.R.D. 524, 525-26 (C.D. Cal.
   21 2008). “[T]he deponent's testimony is the corporation's testimony, and if the
   22 corporation is a party, the testimony may be used…by an adverse party for any
   23 purpose.” Id. (internal quotations omitted.)
   24         Fourth, Neman Brothers’ memory-free denials of actual knowledge do not
   25 preclude a “willful blindness” determination under the Supreme Court’s Unicolors
   26 analysis. The Supreme Court there made clear that “courts need not automatically
   27 accept a copyright holder’s claim that it was unaware of the relevant legal
   28 requirements. Willful blindness may support a finding of actual knowledge.”
                                          7
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     1 Unicolors, Inc. v. H&M Hennes & Mauritz, L.P. 211 L. Ed. 2d 5861 42 S. Ct. 941,
     2 948 (2022). Unicolors thus introduced “willful blindness” as a substitute for actual
     3 knowledge when evaluating a copyright application. A copyright registrant cannot
     4 avoid invalidation by simply denying it did not actually know of or act on the legal
     5 requirements, as Neman Brothers seeks to do here. Id.
     6        The Supreme Court in Unicolors also made clear that “[c]ircumstantial
     7 evidence…may…lead a court to find that an applicant was …willfully blind to,
     8 legally inaccurate information.” Id. This is consistent with long-standing Supreme
     9 Court guidance; even actual knowledge can be proven through “inference from
   10 circumstantial evidence.” Farmer v. Brennan, 511 U.S. 825, 842, 114 S. Ct. 1970,
   11 128 L. Ed. 2d 811 (1994); see also, Staples v. United States, 511 U.S. 600, 615–616,
   12 n. 11, 114 S. Ct. 1793, 128 L. Ed. 2d 608 (1994) (“[K]nowledge can be inferred
   13 from circumstantial evidence”). Thus, Neman Brothers’ mere denials of knowledge
   14 cannot defeat summary judgment under Unicolors, because this Court “need not
   15 automatically accept” them, and because willful blindness does not require the
   16 actual knowledge Neman Brothers denies having. Abundant undisputed
   17 circumstantial evidence that Neman Brothers now claims it cannot remember well
   18 enough to dispute can establish willful blindness and support summary judgment
   19 notwithstanding those denials. Staples, 143 S. Ct. at 948. Although, generally, “[a]t
   20 the summary judgment stage, facts must be viewed in the light most favorable to the
   21 nonmoving party,” that is required “only if there is a ‘genuine’ dispute as to those
   22 facts.” Scott v. Harris, 550 U.S. 372, 380, 127 S. Ct. 1769, 167 L. Ed. 2d 686 (2007)
   23 (quoting Fed. Rule Civ. Proc. 56(c)). If a plaintiff 's evidence-free denial is
   24 “blatantly contradicted by the record” it claims it does not remember and therefore
   25 cannot dispute, “a court should not adopt that version of the facts for purposes of
   26 ruling on a motion for summary judgment.” Scott, 550 U.S. at 380, 127 S. Ct. 1769.
   27         That is made even clearer by the Ninth Circuit’s recent guidance in Unicolors
   28 that a copyright registrant shows willful blindness when it “egregiously misapplies”
                                          8
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     1 a clear statute or Copyright Office instruction. 2022 WL 16845116 at *9. This
     2 Court’s objective determination of “egregious misapplication” of legal requirements
     3 by Neman Brothers, rather than a former Neman Brothers employee’s vague denials
     4 of “knowledge” based on an inability to remember details concerning the
     5 applications at issue, determines willful blindness under this standard. Here, the
     6 undisputed fact that Neman Brothers claimed to have authored works it did not
     7 actually create in the three works at issue and hundreds of other group registrations
     8 for thousands of other works, while or shortly after reading legal requirements that
     9 disqualified it from authorship, is “egregious” as described above, and qualifies as
   10 “willful blindness” as a matter of law under the Ninth Circuit’s standards.
   11         Fifth, literally every district court to apply the Supreme Court’s Unicolors
   12 “willful blindness” standard in the copyright invalidity setting has ruled consistent
   13 with the Ninth Circuit’s standards in circumstances directly analogous to this one.
   14 They all ruled that a copyright applicant’s failure to comply with clear Copyright
   15 Office instructions on authorship or derivative work status in copyright applications
   16 meant the registrant was “willfully blind” to applicable legal requirements. See e.g.,
   17 Lieb v. Korangy Publishing, Inc., 2022 WL 1124850, at *11 (E.D.N.Y. April 14,
   18 2022); Healthestate, LLC, v. United States, 160 Fed. Cl. 91, 93 (Fed. Cl. 2022);
   19 Oliver v. Meow Wolf, Inc., 2022 WL 3682936 (D. N.M. Aug. 25, 2022). Like
   20 Neman Brothers here, all those registrants denied knowing the legal requirements
   21 they misapplied, but all three courts held, consistent with Unicolors, that such
   22 denials of actual knowledge were not enough to dispute willful blindness when they
   23 completed their applications.
   24         Neman Brothers criticizes Lieb (Dkt. No. 97 at 10), but it ignores the
   25 Supreme Court and Ninth Circuit Unicolor decisions in doing so. Lieb granted
   26 summary judgment based on undisputed circumstantial evidence that its copyright
   27 registrant did not follow “clear,” “simple” legal instructions on derivative work
   28 requirements when he failed disclose that the work for which he was seeking
                                          9
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     1 registration was a derivative. Citing Unicolors, Lieb so ruled even though the
     2 applicant denied actually knowing the legal requirements, because his actions
     3 demonstrated that he was willfully blind to them despite his denial of actual
     4 knowledge. Lieb, 2022 WL 1124850 at *14. That is precisely what the Supreme
     5 Court’s Unicolors decision teaches courts should do as shown above; a denial of
     6 actual knowledge is irrelevant to a judicial determination of willful blindness,
     7 because willful blindness does not require actual knowledge.
     8        Lieb also found what the Ninth Circuit would call an “egregious
     9 misapplication” of those clear requirements when the registrant failed to disclose the
   10 derivative nature of the work at issue to find willful blindness. Id. That also is
   11 precisely what the Ninth Circuit teaches courts should do to determine “willful
   12 blindness” in this setting. Lieb thus ruled consistent with Unicolors, and it should be
   13 followed here.6
   14         Sixth, Neman Brothers overstates the “willful blindness” standards
   15 established in Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754 (2011), an
   16 earlier decision that arose in the patent infringement setting, in a way that should be
   17 unpersuasive. Supreme Court and Ninth Circuit guidance in Unicolors on what
   18 “willful blindness” means in this copyright invalidity context should govern here to
   19 the extent thought inconsistent with Global-Tech, a patent case.
   20         But even assuming Global-Tech applies, the cases are not inconsistent.
   21 Global-Tech, like Unicolors, holds that willful blindness can be inferred from
   22 circumstantial evidence: “defendants cannot escape the reach of these [patent
   23 inducement infringement] statutes by deliberately shielding themselves from clear
   24 evidence of critical facts that are strongly suggested by the circumstances.” Global-
   25 Tech, 563 U.S. at 766.
   26
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       Neman Brothers’ opposition does not mention or refer to Heathestate or Oliver,
   28 implicitly confirming the correctness of those rulings.
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     1        The Global-Tech Court put that principle into practice and corrected the
     2 Federal Circuit’s previous definition of “willful blindness,” but affirmed the Federal
     3 Circuit’s “willful blindness” determination by inferring from circumstantial
     4 evidence that willful blindness was present. The patent infringer copied a foreign
     5 product that “embodied advanced technology” but lacked patent numbers to create
     6 its infringing product, The infringer also did not advise its patent counsel that it had
     7 done that when submitting product for a patent clearance opinion. 563 U.S. at 770-
     8 71. Based on these facts, the Supreme Court ruled a “jury could have easily found
     9 that…[infringer] Pentalpha willfully blinded itself to the infringing nature” of the
   10 product it sold. Id.
   11         This Court, just as the Supreme Court in Global-Tech, should find that
   12 Neman Brothers acted with willful blindness based on the abundant circumstantial
   13 evidence. Among many other things, Neman Brothers repeatedly claimed authorship
   14 of works when it had to see and willfully fail to understand or disregard the
   15 Copyright Offices’ online instructions disqualifying it from authorship. It did not
   16 advise the Copyright Office that it did not actually create, nor employ the third-party
   17 entities who did actually create, the designs in the copyright applications at issue. It
   18 did not inquire of the Copyright Office, nor apparently inquire of its counsel,
   19 whether it needed to do so. Those actions demonstrate “deliberate action” by Neman
   20 Brothers to affirmatively claim “authorship” while avoiding what the plain language
   21 on the online “author” application page communicated to it- that it did not qualify as
   22 an “author” in the third party works in which it was claiming authorship because it
   23 did not “actually create” nor “employ” the persons that did “actually create” them.
   24         Seventh, Neman Brothers’ assertions that it “had no reason to believe” its
   25 claims to “author” works it did not actually author could be “problematic” or
   26 “inaccurate” (Dkt. No. 97-1 at ¶¶ 9, 11) is another conclusion that is refuted by the
   27 undisputed circumstantial evidence cited above. It is irrelevant because actual
   28 knowledge is not needed to show willful blindness. It is also illogical. Words have
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     1 meaning, and Neman Brothers cannot simply disregard them, or claim it did not
     2 know what they meant, or say it thought they meant the opposite of their true
     3 meaning, to defeat summary judgment. Yet, that is what Neman Brothers claims
     4 and seeks to do here. The plain meaning of the Copyright Office Instructions on
     5 authorship gave Neman Brothers a “reason to believe” its authorship claims were
     6 both “problematic” and “inaccurate,” and its oxymoronic misapplication of the
     7 English language to claim authorship anyway demonstrates its willful blindness to
     8 those instructions.
     9        Seventh, Neman Brothers’ argument that InterFocus’ “significant financial
   10 benefits” argument “makes no sense” (Dkt. No. 97 at 25) is itself nonsense. Neman
   11 Brothers obviously saved itself thousands of employee hours and hundreds of
   12 thousands of dollars in filing fees by filing a few hundred group registrations with
   13 third party works that, under the rules, required thousands of individual applications.
   14 Acknowledging that it would have to file those thousands of individual applications
   15 if it were caught does not mean it didn’t save money by improperly claiming
   16 copyright protection for thousands of third party works in a few hundred group
   17 registrations for decades before it was caught. Nor does Neman Brothers’ belated
   18 acknowledgment justify its continuing attempt to benefit itself in this action by
   19 claiming copyright infringement of the invalid copyright registrations at issue here.
   20         And how many of the 60 other copyright infringement suits Neman Brothers
   21 previously brought involved similarly defective copyright registrations? How much
   22 did Neman Brothers receive in settlement of those copyright infringement actions
   23 based on invalid copyright registrations? Does Neman Brothers seriously contend
   24 those are not “significant financial benefits?” Stated another way, could a building
   25 contractor who saved money by cutting corners on building codes claim it “received
   26 no financial benefit” from doing so because, if it is caught, it will be required to raze
   27 and rebuild the building according to code?
   28         The financial benefits Neman Brothers received by burdening courts with
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     1 dozens of copyright infringement actions apparently based on invalid copyright
     2 registrations, and by creating a false public record with false authorship information
     3 about thousands of works in hundreds of copyright registrations, are both obvious
     4 and obviously significant. It should not be permitted to deny that benefit, or avoid
     5 the consequences of its actions, by claiming that, at some point in the future, it
     6 might have to incur the costs that for decades it has avoided.
     7         D.     Neman Brothers’ Arguments that the Copyright Office’s
                      Instructions Are “Confusing and Misleading” Cannot Defeat
     8
                      Summary Judgment.
     9
               Neman Brothers’ various arguments that it cannot be found willfully blind for
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         failing to follow the Copyright Office’s application instructions (Dkt. No. 97 at 12-
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         16) lack merit for several reasons.
   12
               First, Neman Brothers’ arguments that the instructions shown in InterFocus’
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         Exhibits 6 and 7 are “confusing and misleading” ignore the clearest and plainest
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         instruction at issue, namely the text on the “Author” page of the online instructions
   15
         cited and discussed at length above. See Dkt. No. 96 at 6 and 96-12. Those
   16
         instructions explain, half an inch above the box in which the applicant must name
   17
         the “author” of the works at issue, that “[a]n author is a person who actually created
   18
         the contribution, unless the contribution was ‘made for hire’ in which case the
   19
         employer is the author.” Id. What is “confusing” about that? What is “misleading”
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         about that? The answer is nothing, and the meaning is apparent. Neman Brothers
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         could fail to comply with those instructions only by 1) willfully refusing to
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         understand what they mean, demonstrating willful blindness, or 2) understanding
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         what they mean but ignoring them, so Neman Brothers could get the financial
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         benefits of a group copyright registration for which it did not qualify.
   25
               Second, Neman Brothers’ arguments about the “confusing and misleading”
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         nature of the relevant written Copyright Office instructions in Exhibits 6 and 7 also
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         are substantively meritless. Those instructions are very clear, as the Lieb,
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     1 Healthestate and Oliver decisions all expressly or impliedly held. The fact the
     2 Copyright Office amended the instructions years before the works at issue were
     3 registered underscores their clarity when Neman Brothers completed the
     4 applications at issue, rather than disputes it. Further, no Neman Brothers witness
     5 claims he or she was actually confused or misled by them. To the contrary, Neman
     6 Brothers’ 30(b)(6) witness admitted “to me these instructions are clear…” (Neman
     7 Brothers’ Rule 30(b)(6) 25:17-26:1, Lee Decl. ¶ 17 and Exs. 8 and 9; Dkt. No 96-1
     8 at ¶ 17 and Dkt. Nos. 97-9 and -10), and that admission is binding on Neman
     9 Brothers and moots its present argument as described above. The “author” and
   10 “derivative work” instructions are so clear, only a lawyer can argue they are
   11 misleading in legal briefing.
   12         Third, Neman Brothers’ argument that its failure to follow even clear
   13 instructions “establishes merely constructive knowledge for negligence, not willful
   14 blindness” (Dkt. No. 97 at 15) is contrary to the guidance of the Supreme Court,
   15 Ninth Circuit, and every district court to consider the issue as described above.
   16 “Egregious misinterpretation” of clear instructions is willful blindness in the Ninth
   17 Circuit, and that is exactly how Neman Brothers misinterpreted the online
   18 application’s “author” and “derivative work” instructions here. Lieb, Healthestate
   19 and Oliver all held that failure to follow the Copyright Office’s authorship and
   20 derivative work instructions establish willful blindness as described above. This
   21 Court should hold likewise.
   22 III.    CONCLUSION
   23         Summary judgment of copyright invalidity should be granted in InterFocus’
   24 favor, Neman Brothers’ complaint should be dismissed with prejudice, and
   25 summary judgment entered on InterFocus’ counterclaim for all the reasons
   26 described in InterFocus’ previous briefing and above.
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     1 Dated: November 30, 2022             RIMON, P.C.
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